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                                       IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF MARYLAND

United States of America,                                   *

                                                            *
      v.                                                               Case No. 1:22-cr-00146-JKB
                                                            *
Ron Elfenbein
   Defendant.                                               *

                                      ENTRY OF APPEARANCE IN A CRIMINAL CASE


TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

             Enter my appearance as counsel in this case for the defendant, Ron Elfenbein                        .
I certify that: [check and complete one that applies]

             X            I am admitted to practice in this Court.

                          I am a member in good standing of the bar of the highest state court of



                          and familiar with the Federal Rules of Criminal Procedure, the Federal Rules of
                          Evidence, the Federal Rules of Appellate Procedure and the Local Rules of this
                          Court.

May 5, 2022                                                     /s/ Jason Weinstein
Date                                                            Signature

                                                                Jason Weinstein (Bar No. 18746)
                                                                Printed name and bar number
                                                                Steptoe & Johnson LLP
                                                                1330 Connecticut Avenue, NW
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Please select your designation:

                    CJA               X   Retained           Public Defender           Pro Bono


NOTE:               Appearance of counsel may be withdrawn only with leave of Court. See Local Rule
                    201.3. Such leave is liberally granted if sought within 14 days of the defendant’s
                    initial appearance in this Court.


If you are not a member of this Court’s bar, email your completed form to
MDD_AttyAdmissions@mdd.uscourts.gov. Otherwise, please enter your own appearance in this
case in CM/ECF using the event Notice of Appearance.




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